48 F.3d 1217NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Cornelius TUCKER, Jr., Plaintiff-Appellant,v.Correctional Officer BROWN;  Correctional Officer Hinnant;Correctional Officer Thissen;  Correctional Officer DonnieLong;  Warden French;  Sergeant Hunter;  Sergeant Robinson;Lieutenant Walker;  Correctional Officer Johnson;Lieutenant Munn, Defendants-Appellees.
    No. 94-7040.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1995.Decided Feb. 16, 1995.
    
      Cornelius Tucker, Jr., Appellant Pro Se.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying leave to file a complaint pursuant to a pre-filing injunction.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Tucker v. Brown, No. CA-94-106-5-MC-BO (E.D.N.C. Aug. 16, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    